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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

               v.                                   Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


    REPLY IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS COUNT ONE

       Aside from declaring Mr. Craig guilty and accusing him of arguing that he had no duty to

be truthful, neither of which is true, the government strains mightily to persuade the Court that

United States v Safavian, 528 F.3d 957 (D.C. Cir. 2008), is “inapposite.” Gov’t Opp. to Def.’s

Mot. to Dismiss Count One (“Opp.”), ECF No. 32, at 2. In this pleading, we decline the

government’s invitation to debate the facts that a trial would involve. We demonstrate, rather,

that Count One cannot survive Safavian. The Court of Appeals held in no uncertain terms that

the government can prosecute a concealment scheme under 18 U.S.C. § 1001(a)(1) only where

the defendant was subject to a clear and specific legal duty to disclose the allegedly concealed

information.

       The government cannot point to any provision in the statute that addresses disclosure of

the specific information allegedly concealed, so instead it argues that, as a matter of law, “the

statute itself and the FARA Unit’s inquiry” created a general duty to disclose all material facts.

Opp. at 17. The government wanders through various efforts to divine such a duty, including a

bizarre argument that a duty arises from FARA’s definitions section. 22 U.S.C. § 611. It also

invokes FARA’s false statement provision, 22 U.S.C. § 618(a)(2), but for the reasons set forth in

our Motion to Dismiss Count Two, that provision does not apply to the letters at issue in this
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case. And regardless, it does not contain the sort of specific disclosure duty that can satisfy

Safavian. We demonstrate below that neither the statute, “the FARA Unit’s inquiry,” nor some

amorphous combination of the two establishes a disclosure duty, and that as a result, Count One

must be dismissed. See United States v. Singhal, 876 F. Supp. 2d 82, 93–96 (D.D.C. 2012)

(dismissing § 1001(a)(1) charge for lack of a legal disclosure duty); United States v. Crop

Growers Corp., 954 F. Supp. 335, 344–48 (D.D.C. 1997) (same).

       The government argues further that, if the Court concludes that the allegation of duty

fails as a matter of law, it can amend Count One to charge false statements, as though Mr. Craig

had been indicted under 18 U.S.C. § 1001(a)(2). The government thus invites the Court to

change the offense for which Mr. Craig was indicted, a power no court has. There is no question

that this indictment charges a concealment scheme under 18 U.S.C. § 1001(a)(1) and not willful

false statements under subsection (a)(2). The government does not suggest otherwise. Indeed, it

says that “the indictment clearly charges Defendant with a concealment scheme.” Opp. at 31.

(emphasis added); see also id. at 1 (arguing that Mr. Craig made false statements and material

omissions in order “to conceal his registrable activity, under the FARA statute, from the FARA

Unit” (emphasis added)). The fatal defects in the “concealment scheme” cannot be excised from

the indictment in favor of mere false statements, because the grand jury charged a concealment

offense under § 1001(a)(1), not false statements under § 1001(a)(2).

       The government does not even attempt to argue that the grand jury’s decision to indict

was free from substantial influence by the erroneous omission instructions it received.           In

responding to Mr. Craig’s claim of grand jury error, the government rests on the correctness of

the instructions, an implicit concession that if the allegations of duty are wrong, the Indictment is

not only insufficient but the grand jury was misled.


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       Finally, the government’s effort to save the time-barred portion of Count One is also

unavailing. It relies on a mistaken view of when an offense is “complete” for purposes of the

statute of limitations so as to dodge the issue of whether § 1001(a)(1) is a “continuing offense.”

It is not a “continuing offense,” and the pre-limitations conduct included in Count One is time-

barred. See Toussie v. United States, 397 U.S. 112, 114–15 (1970).

       The Court must dismiss Count One.

                                          ARGUMENT

I.     Mr. Craig was not subject to a duty to volunteer all facts that might be relevant to
       the FARA Unit.

       The government argues that Mr. Craig’s “duty to provide material information when

responding to the FARA Unit flowed from . . . [t]wo particular provisions of FARA”: 22 U.S.C.

§ 611 (the definitions section) and 22 U.S.C. § 618(a)(2) (the false statement provision). Opp. at

17. Elsewhere the government argues that “Defendant’s duty arose from the FARA Unit’s

inquiry pursuant to FARA’s registration requirements.” Opp. at 18. The government is wrong

on all counts.

       A.        No specific disclosure duty is imposed by either of the statutory provisions
                 that the government invokes – 22 U.S.C. § 611 or § 618(a)(2).

       A disclosure duty must arise from some fixed legal requirement in a “regulation or form

or statute.” Safavian, 528 F.3d at 965. Neither of the “[t]wo particular provisions of FARA”

that the government invokes, Opp. at 17, creates a disclosure duty that could satisfy Safavian.

       The government first cites 22 U.S.C. § 611. Opp. at 17–18. That provision is entirely

comprised of definitions of terms used elsewhere in the statutory scheme; it says nothing about

communications with the FARA Unit or any other government agency. The government’s duty

theory is not only untethered to the language or purpose of § 611; the idea that it creates some



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duty to volunteer all facts that might be material to a registration decision is bizarre. Section 611

imposes no legal duties at all.

         Nor does § 618(a)(2) create such a duty. As we explain in further detail in our Motion to

Dismiss Count Two and the supporting Reply filed today, § 618(a)(2) applies only to documents

filed or furnished pursuant to specific provisions of FARA – not to voluntary letters like the ones

at issue in this Indictment.   We do not repeat those arguments in this pleading, but adopt and

incorporate them. Simply put, because § 618(a)(2) does not apply to the communications with

the FARA Unit in this case, it does not create the specific duty necessary for the concealment

scheme charged in Count One. Count One fails for the same reason that Count Two does.

         But even if the Court disagrees that § 618(a)(2) is limited to statutory submissions, that

provision does not support the government’s duty arguments.                 First, even under the

government’s reading, § 618(a)(2) is limited to “documents,” not oral submissions.                So

§ 618(a)(2) does not apply to Skadden’s in-person meeting with the FARA Unit on October 9,

2013.

         Second, § 618(a)(2) does not contain the sort of specific disclosure requirement that

Safavian contemplates. Safavian demands a “specific requirement[] for disclosure of specific

information.”    528 F.3d at 964.      Such specific requirements exist where, for example, a

regulation mandates disclosure of the true identity of political contributors, see United States v.

Kanchanalak, 192 F.3d 1037, 1046 (D.C. Cir. 1999); where a financial interest form requires

government employees to disclose corporate affiliations, see United States v. Muntain, 610 F.2d

964, 971 (D.C. Cir. 1979); and where Coast Guard regulations require that certain ships record

discharges of oil residue. United States v. Sanford, Ltd., 859 F. Supp. 2d 102, 109–10 (D.D.C.

2012).


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       In contrast, there is no “specific requirement for disclosure of specific information” in

§ 618(a)(2). Section 618(a)(2) penalizes the omission of “any material fact required to be stated”

in a covered document or “a material fact or a copy of a material document necessary to make

the statements therein and the copies of documents furnished therewith not misleading.” 22

U.S.C. § 618(a)(2).1 The first clause does not impose any disclosure requirements in and of itself

– it just attaches penalties to a failure to comply with requirements that originate elsewhere. See

id. (referencing “material fact[s] required to be stated therein”). And the second clause is too

general to satisfy Safavian. Indeed, in Crop Growers Corp., Judge Kessler was faced with

nearly identical language in an SEC regulation and declined to find a disclosure duty that could

support a concealment prosecution under § 1001. See 954 F. Supp. at 347 (discussing regulation

that required disclosure of “such further information, if any, as may be necessary to make the

required statements, in light of the circumstances under which they are made, not misleading”).

She determined that that regulation, in conjunction with others, “d[id] not set forth the required

disclosures in precise terms,” so as to satisfy “[d]ue process concerns.” Id. at 346, 348; see also

United States v. White Eagle, 721 F.3d 1108, 1118 (9th Cir. 2013) (reversing conviction under

§ 1001(a)(1) for lack of a duty to disclose because, “[a]lthough the regulation discusses reporting

‘fraud’ and ‘corruption,’ it does not provide specifics on what kind of information should be

reported or to whom” (citation omitted)).

       B.      No specific disclosure duty is imposed by “the FARA Unit’s inquiry pursuant
               to FARA’s registration requirements.”

       According to the government, Mr. Craig had a duty to disclose all material facts to the

FARA Unit “[b]ecause the FARA Unit made Defendant aware of his possible obligation to



1
 Section 618(a)(2) also penalizes “a false statement of a material fact,” but we do not take the
government to be arguing that that clause generates any affirmative disclosure duty.
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register under the statute, cited and enclosed it, and then asked specific and targeted questions

designed to determine [his] registration obligation.” Opp. at 18–19. The government claims that

“[t]he fact that Defendant chose to engage with the FARA Unit – a U.S. Department of Justice

law enforcement agency – on the question of whether he was obligated to register obligated him

to . . . disclos[e] material facts responsive to the FARA [U]nit’s inquiry.” Id. at 18.

       The court in Safavian made clear that there is no general duty to “disclose all relevant

facts” simply because “one begins speaking . . . in response to questioning” from a government

official. 528 F.3d at 965. The government asserts it is not arguing “that once an individual

begins speaking voluntarily with the government, he cannot stop,” Opp. at 23, but in fact that is

exactly the government’s position. See id. at 16–19.

       Safavian is on all fours, and the government’s attempt to distinguish it is unavailing. The

government argues that Safavian is “inapposite” because “Defendant did not contact the FARA

Unit for an opinion as to his registration obligation”; “[r]ather, the FARA Unit contacted

Defendant.” Opp. at 20–21. Drawing that distinction ignores half of Safavian. The defendant in

Safavian was convicted of concealing material facts not only when he affirmatively sought an

ethics opinion from a General Services Administration (“GSA”) ethics officer (Count 2), but also

when he responded to an agent of the GSA Office of Inspector General, which had launched an

“investigation” of his conduct based on an anonymous tip (Count 3). 528 F.3d at 963; see also

id. at 961. The OIG investigation in Safavian was no different from the FARA Unit inquiry here.

In both cases, a government official “contacted [the defendant] to gather the information

necessary to determine whether” the law had been violated, and the defendant “chose to

respond.” Opp. at 21. The court in Safavian explained that there is no general duty to disclose




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material facts simply because “one begins speaking when seeking government action or in

response to questioning.” 528 F.3d at 965 (emphasis added).

       That rule is dispositive here.     When a government investigator asks an individual

questions about a law she is charged with enforcing, the individual’s choice to respond does not

trigger a duty to volunteer all facts that might be material to the investigator’s inquiry. Such a

duty of full disclosure must arise from somewhere else – a statute, regulation, or form.

       The government’s argument that the requisite disclosure duty need not “be explicit,”

Opp. at 19, is based on a misreading of United States v. Moore, 446 F.3d 671 (7th Cir. 2006).

The government extensively discusses Moore, which involved a city contractor who failed to

disclose that her mother was a city employee – a forbidden conflict of interest under Department

of Housing and Urban Development (“HUD”) regulations.              See Opp. at 19–20.       In the

government’s retelling, the defendant’s duty in Moore “arose from the contracts incorporating

HUD regulations and in the course of her communications with City officials who were

investigating the conflict-of-interest problem.” Id. at 19 (citation omitted). But critically, the

city contract at issue not only incorporated HUD regulations governing conflicts of interest, it

also expressly required that contractors disclose conflicts that violated those regulations. Moore,

446 F.3d at 678. The disclosure duty in Moore arose from that express provision in the contract,

which the court described as “the functional equivalent of any other government form.” Id.2

       Nor do the government’s other cases support its position that, when one answers

questions from a government official charged with enforcing some statute, there is a duty to

2
  The court in Moore did state in the alternative that inquiries from government officials
“repeatedly triggered a duty to disclose.” 446 F.3d at 678. But as the Court of Appeals observed
in Safavian, the conviction in Moore must have been based on a duty arising from the contract,
not the government inquiry, because “the jury instructions in Moore stated” that a disclosure
duty can “arise[] from requirements in federal statutes, regulations, or government forms.”
Safavian, 528 F.3d at 965 n.7 (quoting Moore, 446 F.3d at 680).

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disclose all facts material to the government’s inquiry.3 Several of the government’s cases found

disclosure duties arising from government forms that either expressly demanded complete

responses or that contained affirmative certifications of completeness. See United States v.

Calhoon, 97 F.3d 518, 526–27 (11th Cir. 1996) (Medicare reimbursement form expressly

required complete disclosure, as did a regulation); United States v. Bowser, 318 F. Supp. 3d 154,

169–70 (D.D.C. 2018) (form contained affirmative certification of completeness), appeal filed

No. 18-3062 (D.C. Cir. Aug. 30, 2018); United States v. Cisneros, 26 F. Supp. 2d 24, 32 (D.D.C.

1998) (questions posed to the defendant were rooted in a government form that the defendant

had completed).4

          If the Justice Department wants to require that all responses to FARA Unit inquiries

contain a certification of completeness, it might prescribe a form or promulgate a regulation to

that effect. Indeed, it has done just that for different communications with the FARA Unit. See

28 C.F.R. § 5.2(f) (requiring that anyone who requests a FARA advisory opinion “must certify

that the review request contains a true, correct, and complete disclosure”). But for “potential

obligation letters” like the ones at issue in this case, there is no requirement that the response

contain any such certification.

          Mr. Craig does not “contend[] that . . . he had no duty to be truthful” – no matter how

many times the government says it. Opp. at 1 (emphasis added); see also id. at 15, 19. All

communications with the government must be truthful, and Mr. Craig does not “contend”

otherwise, as the government well knows. The government has created that straw man in order


3
  One of the government’s out-of-circuit cases, decided before Safavian, might support such a
disclosure duty – United States v. Stewart, 433 F.3d 273, 318 (2d Cir. 2006). But see White
Eagle, 721 F.3d at 1117–18 (adopting Safavian’s analysis). In any event, the government does
not dispute that Safavian is binding precedent in this Circuit.
4
    The court in Safavian distinguished Cisneros on this basis. See 528 F.3d at 965 n.7.
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to frame its arguments around “a duty of truthful disclosure,” id. at 15, 16, 17, 19 (emphasis

added), diverting focus away from the real question: whether there is any duty not to omit

potentially relevant facts in response to the FARA Unit’s inquiry.

        There is nothing wrong with truthful answers to government questions that do not include

all of the facts the questioner might want to know. Although the government tries to resist that

reality – a reality recognized by the court in Safavian – concealment of material facts in response

to questions from a government official is only a crime under § 1001(a)(1) if there was a specific

legal duty to disclose those facts arising from a statute, regulation, or form. There was no such

duty here, and Count One must be dismissed as a result.

II.     The government cannot salvage Count One by pointing to allegations of isolated
        false statements.

         The government argues that even if Mr. Craig did not have a duty to disclose material

information to the FARA Unit, “Count One of the indictment stands because it includes

Defendant’s affirmative false statements as part of the § 1001(a)(1) scheme.” Opp. at 27. But

the allegations of affirmative false statements do not save Count One from dismissal either on its

face, see Def.’s Mot. to Dismiss Count One (“Mot.”), ECF No. 23, § I.A–B, or for grand jury

error, see id. § I.C.

        A.      The false statement allegations cannot cure the facial defect in the Indictment
                because Count One charges a concealment scheme only.

        Section 1001(a)(1) encompasses both concealment schemes and falsification schemes,

but Count One of the Indictment in this case alleges a concealment scheme only, as even the

government acknowledges. See Opp. at 27 (stating that “Count One of the Indictment properly

charges Defendant with a single scheme to conceal”); id. at 31 (stating that “the indictment

clearly charges Defendant with a concealment scheme”); id. (referring to “the charged scheme to

conceal material facts from the FARA Unit”).          The crux of any scheme offense under
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§ 1001(a)(1) is the “material fact” that was falsified or concealed, and the only “material facts”

referenced in Count One are alleged to have been omitted or concealed, not falsified. See

Indictment ¶¶ 50.c, 63.

       The government carefully and repeatedly states that “Defendant’s scheme included

affirmative false statements,” e.g., Opp. at 26 (emphasis added), but it characterizes the false

statement allegations as part of a charged scheme to conceal material facts – not as a falsification

scheme. See, e.g., id. at 27 (“Count One of the Indictment properly charges Defendant with a

single scheme to conceal that involved Defendant’s consistent false statements, omissions, and

other acts . . . .”); id. at 1 (asserting that the alleged false statements and omissions were both

“designed to conceal [Mr. Craig’s] registrable activity”). We agree with the government about

the structure of Count One. See Mot. at 12 (“Although the Indictment alleges that certain false

and misleading statements were included in some of Mr. Craig’s written communications with

the FARA Unit, those statements are encompassed within the charged ‘concealment’ of the

material facts listed in Paragraph 63.”).

       If the Court agrees with Mr. Craig that there was no duty of full disclosure that could

support a concealment scheme, the government is wrong to suggest that the Court can pluck out

the false statement allegations and treat them as though they were charged as standalone offenses

under 18 U.S.C. § 1001(a)(2). Count One charges a scheme offense under § 1001(a)(1), not a

false statements offense under § 1001(a)(2). The government references the “false statement

provision of § 1001(a)(1),” Opp. at 27, but there is no such thing. Subsections (a)(1) and (a)(2)

codify separate offenses with different elements. See United States v. Woodward, 469 U.S. 105,

108 & n.4 (1985) (describing different elements under clauses of § 1001 that later became (a)(1)

and (a)(2)). In particular, a false statement is not sufficient to support a scheme conviction under


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(a)(1). Safavian, 528 F.3d at 967 n.12 (“[U]nder § 1001(a)(1) a false statement alone cannot

constitute a ‘trick, scheme, or device.’”). Nor is a false statement necessary to a scheme offense:

a scheme offense must include “acts of falsification [or] concealment,” United States v. Hubbell,

177 F.3d 11, 13 (D.C. Cir. 1999), but those acts need not be false statements.

       Accordingly, the grand jury that indicted Mr. Craig under § 1001(a)(1) did not need to

find that he willfully made any specific “materially false” statement, as it would have needed to

do to indict under § 1001(a)(2). United States v. Verrusio, 762 F.3d 1, 20 (D.C. Cir. 2014) (“An

essential element of the false statement offense of 18 U.S.C. § 1001(a)(2) is that the statement be

‘materially false.’” (citation omitted)). To allow the government to proceed on a false statements

theory would subject Mr. Craig to a charge not found by the grand jury, in violation of his Fifth

Amendment right not to be “convicted of an offense not charged in the indictment.” Stirone v.

United States, 361 U.S. 212, 213 (1960). The government may present “trial evidence that

narrow[s] the indictment’s charges without adding any new offenses,” but the government may

not rely on trial evidence that “broaden[s] the possible bases for conviction” relative to what is

charged in the indictment. United States v. Miller, 471 U.S. 130, 138 (1985). The grand jury did

not charge an offense under § 1001(a)(2), so recasting Count One as an (a)(2) offense would

“broaden the possible bases for conviction,” in violation of Miller and the Fifth Amendment.5



5
  The government gets no mileage from the fact that the lack of a duty in Safavian led the court
to reverse only the portions of the § 1001(a)(1) counts that rested on a concealment theory,
leaving the portions that rested on false statements to be reversed on other grounds. See Opp. at
26–27. The defendant in Safavian did not argue that, in a § 1001(a)(1) case, it was improper for
the district court to separate out an individual false statement on a special verdict form, allowing
the jury to rely on that statement as a standalone basis for conviction. See 528 F.3d at 962–63
(listing defendant’s arguments). The Court of Appeals thus had no occasion to decide that issue.
After the court reversed the “false statement” portions of the § 1001(a)(1) counts on other
grounds, Safavian, 528 F.3d at 966–69, the government obtained a new indictment under both
§ 1001(a)(1) and § 1001(a)(2). See United States v. Safavian, 644 F. Supp. 2d 1, 7 (D.D.C.
2009), aff’d, 649 F.3d 688 (D.C. Cir. 2011).
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       B.      The false statement allegations cannot cure the grand jury error.

       The government does not dispute that the grand jury was instructed that it could indict

Mr. Craig on an omission theory. See Opp. at 25–26. If that instruction was erroneous because

there is no disclosure duty, the government does not even attempt to salvage Count One from

dismissal. See id. It does not reference the “grave doubt” standard from Bank of Nova Scotia v.

United States, 487 U.S. 250 (1988), let alone attempt to argue that it is not satisfied here. Nor

does the government suggest that any such error was harmless because the false statement

allegations were the real basis for the grand jury’s decision to indict Mr. Craig on Count One.

The government’s silence on that point is a clear acknowledgement that the crux of the grand

jury’s decision to charge Count One was its omissions theory. The government does complain

that we “cherry-picked” portions of the grand jury presentation that focused on omissions. Opp.

at 25. But if that were so, one would expect the government to fill in the gaps with transcript

citations of its own, showing that alleged false statements were actually front and center. But the

government does not cite a single page of grand jury testimony.           The reality is that the

government presented a theory of omission to the grand jury, and there is grave doubt that the

grand jury would have indicted Mr. Craig if it had not been instructed that it could do so

pursuant to that theory.

       Rather than argue that the false statement allegations can save Count One from dismissal

even if the omission instructions were erroneous, the government doubles down on its argument

that the instructions were not erroneous, reiterating its position that Mr. Craig was subject to a

disclosure duty. See Opp. at 25–26. The government has essentially conceded that if there was

no such duty, then the grand jury received erroneous instructions on the elements of the offense

charged in Count One, and Count One must be dismissed as a result.



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III.   Count One relies on conduct that could have been charged as a “completed” scheme
       before the limitations period, and that conduct is now time-barred.

       The government argues that “all of Count One is properly within the statute of

limitations,” because “when some of the acts taken in furtherance of [a] § 1001(a)(1) scheme fall

within the applicable statute of limitations, the entire scheme is timely.” Opp. at 28–29. In

support, the government contends that “[a] ‘scheme’ is not complete for statute of limitations

purposes until the last affirmative act in furtherance of the scheme is undertaken.” Id. at 28.

       The government is wrong: outside the narrow realm of continuing offenses, a criminal

offense is “completed” for statute of limitations purposes “as soon as each element of the crime

has occurred.” United States v. McGoff, 831 F.2d 1071, 1078 (D.C. Cir. 1987). That moment

triggers the running of the statute of limitations “regardless of whether the defendant continues to

engage in criminal conduct” afterward that the government could permissibly charge as part of

the same count. United States v. Yashar, 166 F.3d 873, 879–80 (7th Cir. 1999). For some

schemes under § 1001(a)(1), the elements are not satisfied until the defendant’s last affirmative

act is undertaken. See Mot. at 31–32 (discussing Bramblett v. United States, 231 F.2d 489 (D.C.

Cir. 1956)).6 But here, the government does not dispute that “the scheme charged in Count One

could have been ‘brought and proved’ before the limitations date based only on conduct

preceding that date.”    Mot. at 31 (citation omitted).     Under those circumstances, the pre-

limitations portion of Count One must be dismissed as time-barred because § 1001(a)(1) does not

codify a continuing offense.

6
  Bramblett does not support the government’s argument that “when some of the acts taken in
furtherance of the § 1001(a)(1) scheme fall within the applicable statute of limitations, the entire
scheme is timely.” Opp. at 28. The elements of the charged scheme in Bramblett were not
satisfied until a point in time within the limitations period. See Mot. at 31–32. Indeed, the
indictment in Bramblett reveals that the entire charged scheme in each of the seven § 1001
counts was contained within the limitations period. See id. at 32; see also ECF No. 19-15
(Bramblett indictment).
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       The government tries to have it both ways by treating § 1001(a)(1) like a continuing

offense while suggesting that “the Court need not tackle th[e] question” of whether it actually is

one. Opp. at 29. According to the government, the “continuing offense doctrine does not apply

‘where the charged criminal conduct itself extends over a period of time. The doctrine comes

into play where it is contended the actual conduct of the defendant ended but the crime continued

past that time.’” Id. at 29–30 (citation omitted). But the continuing offense doctrine is not

limited “to offenses in which the defendant’s affirmative actions cease and the offense

continues.” Yashar, 166 F.3d at 877 (rejecting government argument akin to the government’s

argument here). Rather, in a case where the charged criminal conduct extends over a period of

time past the moment when the elements of the offense are first satisfied, the statute of

limitations runs from the last charged act only if the offense is a continuing one. See id. at 876–

77.

       In a conspiracy, for example, all of the elements are satisfied as soon as any co-

conspirator undertakes a single overt act in furtherance of the unlawful agreement. Boyle v.

United States, 556 U.S. 938, 950 (2009). But because a conspiracy is a continuing offense, the

statute of limitations for a conspiracy runs from the final overt act, not the first one. Toussie, 397

U.S. at 122. Similarly, the offense of failure to register under FARA is complete as soon as a

defendant fails to register within ten days of first acting as an agent of a foreign principal. See

United States v. Manafort, 318 F. Supp. 3d 1, 4 (D.D.C. 2018). But because failure to register is

a continuing offense, the statute of limitations runs from the final act undertaken as an

unregistered agent, not the first one. McGoff, 831 F.2d at 1071.

       The government argues that “scheme” offenses under § 1001(a)(1) work the same way,

with the statute of limitations running from the “last act of concealment in furtherance of” the


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scheme. Opp. at 31. But a court may “extend[] the limitations period” in this manner “only in

cases in which Congress explicitly defines an offense as continuing, or in which the crime by its

nature is such that Congress must have intended it to be considered continuing.” Yashar, 166

F.3d at 877 (discussing Toussie). The government makes no effort to show that § 1001(a)(1) is a

continuing offense under the governing standard articulated in Toussie – an implicit concession

that it is not. See Opp. at 29–31.

       In United States v. Sunia, 643 F. Supp. 2d 51 (D.D.C. 2009), Judge Walton rejected the

government’s attempt to charge time-barred conduct as “part of a larger pattern or scheme that

straddles the statutory deadline.” Id. at 72. The government tries to distinguish Sunia because it

involved multiple acts aggregated together in a single count under “a course of conduct” theory,

not a scheme offense under § 1001(a)(1). Opp. at 30–31. But that is a distinction without a

difference. A scheme offense under § 1001(a)(1), just like a “continuing course of conduct”

offense, permits the government to charge multiple independently sufficient acts together in a

single count. See United States v. Hubbell, 177 F.3d 11, 14 (D.C. Cir. 1999). Thus, in either

context, if the government is allowed to charge completed conduct from before the limitations

period by grouping it together with timely conduct, then “a prosecutorial decision regarding the

scope of the charge would determine the running of the limitations period. In that manner, the

statute of limitations, designed as a control on governmental action, would instead be defined by

it.” Sunia, 643 F. Supp. 2d at 71 (quoting Yashar, 166 F.3d at 878).

       The statute of limitations begins to run the moment an “offense” has allegedly been

“committed,” 18 U.S.C. § 3282(a), which occurs as soon as each element is satisfied. McGoff,

831 F.2d at 1078. Because all the elements of the offense charged in Count One are alleged to

have been completed before the limitations date (if at all), the pre-limitations conduct is now


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time-barred, and Count One must be dismissed in part to ensure that the jury does not rest its

verdict on time-barred conduct.

                                       CONCLUSION

       Count One must be dismissed pursuant to Rule 12 because it fails to state an offense and

because it was returned by a grand jury that was erroneously instructed on the elements of the

charged crime.

Dated: June 7, 2019                             Respectfully submitted,


                                                /s/ William W. Taylor, III
                                                William W. Taylor, III (D.C. Bar No. 84194)
                                                Ezra B. Marcus (D.C. Bar No. 252685)
                                                ZUCKERMAN SPAEDER LLP
                                                1800 M Street N.W. Suite 1000
                                                Washington, D.C. 20036
                                                Tel: (202) 778-1800
                                                Fax: (202) 822-8106
                                                Email: wtaylor@zuckerman.com
                                                Email: emarcus@zuckerman.com

                                                William J. Murphy (D.C. Bar No. 350371)
                                                Adam B. Abelson (D.C. Bar No. 1011291)
                                                ZUCKERMAN SPAEDER LLP
                                                100 East Pratt Street, Suite 2440
                                                Baltimore, MD 21202
                                                Tel: (410) 332-0444
                                                Fax: (410) 659-0436
                                                Email: wmurphy@zuckerman.com
                                                Email: aabelson@zuckerman.com

                                                Attorneys for Defendant Gregory B. Craig




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on June 7, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF Service.


                                               /s/ Ezra B. Marcus
                                               Ezra B. Marcus
